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Form 240A - Reaffirmation Agreement (1/07) |__| Presumption of Undue Hardship
24 No Presumption of Undue Hardship
(Check box as directed in Part D: Debtor’s
Statement in Support of Reaffirmation Agreement.)

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

In re DEBRA CANTWELL Case No.09606726
CHARLES CANTWELL
Debtor Chapter 7

REAFFIRMATION AGREEMENT

[Indicate all documents included in this filing by checking each applicable box.]

[x] Part A: Disclosures, Instructions, [x] Part D: Debtor’s Statement in

and Notice to Debtor (Pages 1-5) Support of Reaffirmation Agreement
[x] Part B: Reaffirmation Agreement [x] Part E: Motion for Court Approval
[x] Part C: Certification by Debtor’s

Attorney

[Note: Complete Part E only if debtor was not represented by an attorney during the
course of negotiating this agreement. Note also: If you complete part E, you must prepare
and file Form 240B- Order on Reaffirmation Agreement. ]

Name of Creditor: CitiFinancial, Inc.

[_] [Check this box if] Creditor is a Credit Union as defined in $19(b)(1)(a)(iv) of
the Federal Reserve Act.

PART A: DISCLOSURE STATEMENT, INSTRUCTIONS AND NOTICE TO
DEBTOR

1. DISCLOSURE STATEMENT
Before Agreeing to Reaffirm a Debt, Review These Important Disclosures:

SUMMARY OF REAFFIRMATION AGREEMENT
This Summary is made pursuant to the requirements of the Bankruptcy Code.

AMOUNT REAFFIRMED
The amount of debt you have agreed to reaffirm: $12,057.92

The amount of debt you have agreed to reaffirm includes all fees and costs (if any) that have
accrued as of the date of this disclosure. Your credit agreement may obligate you to pay
additional amounts which may come due after the date of this disclosure. Consult your credit
agreement.

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ANNUAL PERCENTAGE RATE

[The annual percentage rate can be disclosed in different ways, depending on the type of debt.]

a. Ifthe debt is an extension of “credit” under an “open end credit plan,” as those
terms are defined in §103 of the Truth in Lending Act, such as a credit card, the creditor
may disclose the annual percentage rate shown in (i) below or, to the extent this rate is
not readily available or not applicable, the simple interest rate in (ii) below, or both.

(1) The Annual Percentage Rate disclosed, or that would have been disclosed,

to the debtor in the most recent periodic statement prior to entering into the

reaffirmation agreement described in Part B below or, if no such periodic statement was
given to the debtor during the prior six months, the annual percentage rate as it would have
been so disclosed at the time of the disclosure statement: %.

---And/Or----

(11) The simple interest rate applicable to the amount reaffirmed as of the date this
disclosure statement is given to the debtor: %. If different simple interest
rates apply to different balances included in the amount reaffirmed, the amount of each
balance and the rate applicable to it are:

 

 

$ @ %o:
$ @ %,
$ @ %,

 

b. If the debt is an extension of credit other than under an open end credit plan,
the creditor may disclose the annual percentage rate shown in (i) below, or, to the extent
this rate is not readily available or not applicable, the simple interest rate shown in (ii)
below, or both.

(1) The Annual Percentage Rate under §128(a)(4) of the Truth in Lending Act, as
disclosed to the debtor in the most recent disclosure statement given to the debtor
prior to entering into the reaffirmation agreement with respect to the debt or, if no such
disclosure statement was given to the debtor, the annual percentage rate as it would
have been so disclosed: 8.10%.

--And/Or—
(ii) The simple interest rate applicable to the amount reaffirmed as of the date

this disclosure statement is given to the debtor: . If different simple
interest rates apply to different balances included in the amount reaffirmed,

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the amount of each balance and the rate applicable to it are:

 

 

$ @ %,
$ @ %;
$ @ %,

 

c. If the underlying debt transaction was disclosed as a variable rate transaction
on the most recent disclosure given under the Truth in Lending Act:

The interest rate on your loan may be a variable interest rate which changes from
time to time, so that the annual percentage rate disclosed here may be
higher or lower. .

d. If the reaffirmed debt is secured by a security interest or lien, which has not
been waived or determined to be void by a final order of the court, the following items or
types of items of the debtor’s goods or property remain subject to such security interest or
lien in connection with the debt or debts being reaffirmed in the reaffirmation agreement
described in Part B.

 

Item or Type of Item Original Purchase Price or Original Amount of Loan
Real Property $12,839.93

1340 NADINE DR

DELTONA, FL 32738-

Optional --- At the election of the creditor, a repayment schedule using one or a
combination of the following may be provided:

Repayment Schedule:

Your first payment in the amount of $100.00 is due on 06/15/09 (date), but the future
payment amount may be different. Consuit your reaffirmation agreement or credit

agreement, as applicable.
-Or-

Your payment schedule will be: (number) payments in the amount of $

each, payable (monthly, annually, weekly, etc.) on the (day) of each
(week, month, etc.), unless altered later by mutual agreement in writing.

-Or-
A reasonably specific description of the debtor's repayment obligations to the extent

known by the creditor or creditor's representative.

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2. INSTRUCTIONS AND NOTICE TO DEBTOR

Reaffirming a debt is a serious financial decision. The law requires you to take
certain steps to make sure the decision is in your best interest. If these steps are not
completed, the reaffirmation agreement is not effective, even though you have signed it.

1 Read the disclosures in this Part A carefully. Consider the decision to reaffirm
carefully. Then, if you want to reaffirm, sign the reaffirmation agreement in Part B (or
you may use a separate agreement you and your creditor agree on).

2. Complete and sign Part D and be sure you can afford to make the payments
you are agreeing to make and have received a copy of the disclosure statement and a
completed and signed reaffirmation agreement.

3. If you were represented by an attorney during the negotiation of your
reaffirmation agreement, the attorney must have signed the certification in Part C.

4. If you were not represented by an attorney during the negotiation of your
reaffirmation agreement, you must have completed and signed Part E.

5. The original of this disclosure must be filed with the court by you or your
creditor. If a separate reaffirmation agreement (other than the one in Part B) has been
signed, it must be attached.

6. Ifthe creditor is not a Credit Union and you were represented by an attorney
during the negotiation of your reaffirmation agreement, your reaffirmation agreement
becomes effective upon filing with the court unless the reaffirmation is presumed to be an
undue hardship as explained in Part D. If the creditor is a Credit Union and you were
represented by an attorney during the negotiation of your reaffirmation agreement, your
reaffirmation agreement becomes effective upon filing with the court.

7. If you were not represented by an attorney during the negotiation of your
reaffirmation agreement, it will not be effective unless the court approves it. The court
will notify you and the creditor of the hearing on your reaffirmation agreement. You must
attend this hearing in bankruptcy court where the judge will review your reaffirmation
agreement. The bankruptcy court must approve your reaffirmation agreement as
consistent with your best interests, except that no court approval is required if your
reaffirmation agreement is for a consumer debt secured by a mortgage, deed of trust,
security deed, or other lien on your real property, like your home.

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YOUR RIGHT TO RESCIND (CANCEL) YOUR REAFFIRMATION
AGREEMENT

You may rescind (cancel) your reaffirmation agreement at any time before the
bankruptcy court enters a discharge order, or before the expiration of the 60-day period
that begins on the date your reaffirmation agreement is filed with the court, whichever
occurs later. To rescind (cancel) your reaffirmation agreement, you must notify the
creditor that your reaffirmation agreement is rescinded (or canceled).

Frequently Asked Questions:

What are your obligations if you reaffirm the debt? A reaffirmed debt remains
your personal legal obligation. It is not discharged in your bankruptcy case. That means
that if you default on your reaffirmed debt after your bankruptcy case is over, your
creditor may be able to take your property or your wages. Otherwise, your obligations
will be determined by the reaffirmation agreement which may have changed the terms of
the original agreement. For example, if you are reaffirming an open end credit agreement,
the creditor may be permitted by that agreement or applicable law to change the terms of
that agreement in the future under certain conditions.

Are you required to enter into a reaffirmation agreement by any law? No, you are
notrequired to reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your
best interest. Be sure you can afford the payments you agree to make.

What if your creditor has a security interest or lien? Your bankruptcy discharge
does not eliminate any lien on your property. A ‘‘lien’’ is often referred to as a security
interest, deed of trust, mortgage or security deed. Even if you do not reaffirm and your
personal liability on the debt is discharged, because of the lien your creditor may still
have the right to take the security property if you do not pay the debt or default on it. If
the lien is on an item of personal property that is exempt under your State’s law or that
the trustee has abandoned, you may be able to redeem the item rather than reaffirm the
debt. To redeem, you make a single payment to the creditor equal to the current value of
the security property, as agreed by the parties or determined by the court.

NOTE: When this disclosure refers to what a creditor ‘‘may’’ do, it does not use
the word “may’’ to give the creditor specific permission. The word ““may’’ is
used to tell you what might occur if the law permits the creditor to take the action.
If you have questions about your reaffirming a debt or what the law requires,
consult with the attorney who helped you negotiate this agreement reaffirming a
debt. If you don’t have an attorney helping you, the judge will explain the effect
of your reaffirming a debt when the hearing on the reaffirmation agreement is
held.

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PART B: REAFFIRMATION AGREEMENT.

I, DEBRA CANTWELL, CHARLES CANTWELLthe undersigned, hereby
reaffirm the original Note and Deed of Trust dated 02/03/06, in the original amount of
$12,839.93, and hereby promise(s) and agree(s) to pay CitiFinancial, Inc., the amount of
$12,057.92 still due and owing on our home mortgage as of June 10, 2009. The debt
reaffirmed herein remains fully secured by the mortgage on real property located at 1340
NADINE DR, DELTONA, FL 32738-.

1. Note and Mortgage on Real Property commonly known as:

1340 NADINE DR
DELTONA, FL 32738-

2. Description of any changes to the credit agreement made as part of this
reaffirmation agreement: NONE

 

 

SIGNATURE(S):
Borrower: Accepted by creditor:
. , fl , :

(Wpewes NM UNL “an ELL wk CitiFinancial, Inc.

(Print Name) rinted Name of Creditor)

 
 
  
  

P.O. Box 140069
Irving, Texas 75014-0069

Y

 

 

   
 

 

  
    

(Signature) - c (Address of Creditor)
Date: LZ / ae oO NIG TL

 

o

(Signature)

 

 

Co-borrower, if also reaffirming these debts: Latisha Mitchell
_. (Printed Name and Title of
ELPA LE Le Eid Individual Signing for Creditor)

( Print Name) a

j lla fulertiaieg

|
7 I .
(Signature) Date of creditor acceptance:

Date: bl y: ff) g June 10, 2009

   

     

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PART C: CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY).

[To be filed only if the attorney represented the debtor during the course of
negotiating this agreement. ]

I hereby certify that (1) this agreement represents a fully informed and voluntary
agreement by the debtor; (2) this agreement does not impose an undue hardship on the
debtor or any dependent of the debtor; and (3) [ have fully advised the debtor of the legal
effect and consequences of this agreement and any default under this agreement.

[_| [Check box, if applicable and the creditor is not a Credit Union.] A
presumption of undue hardship has been established with respect to this agreement. In my
opinion, however, the debtor is able to make the required payment.

Printed Name of Debtor’s Attorney: ALY A. Y ng of 2 oO

Signature of Debtor’s Attorney:

Date: ig / GL, -

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PART D: DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION
AGREEMENT

[Read and complete sections 1 and 2, OR if the creditor is a Credit Union and
the debtor is represented by an attorney, read section 3. Sign the appropriate
signature line(s) and date your signature. If you complete sections I and 2
and your income less monthly expenses does not leave enough to make the
payments under this reaffirmation agreement, check the box at the top of page
1 indicating “Presumption of Undue Hardship”. Otherwise, check the box at
the top of page I indicating “No Presumption of Undue Hardship” ]

1. I believe this reaffirmation agreement will not impose an undue hardship on my
dependents or me. I can afford to make the payments on the reaffirmed debt because
my monthly income (take home pay plus any other income received) is $ PHS 5D. 2 and
my actual current monthly expenses including monthly payments on post- bankruptcy
debt and other reaffirmation agreements total $46 , leaving $-453.44
make the required payments on this reaffirmed debt.

 

I understand that if my income less my monthly expenses does not leave enough
to make the payments, this reaffirmation agreement is presumed to be an undue hardship
on me and must be reviewed by the court. However, this presumption may be overcome if
[ explain to the satisfaction of the court how I can afford to make the payments here:

 

 

(Use an additional page if needed for a full explanation.)

2. [received a copy of the Reaffirmation Disclosure Statement in Part A and a
completed and signed “Ue [eel agreement.

  
        

    

   

SignedX

eee Po Lae (ea , .
—(Joint D btor, if any -
Date: Z -/ yee j 7
--Or--

[If the creditor is a Credit Union and the debtor is represented by an attorney]

3. | believe this reaffirmation agreement is in my financial interest. I can afford to
make the payments on the reaffirmed debt. I received a copy of the Reaffirmation
Disclosure Statement in Part A and a completed and signed reaffirmation agreement.

Signed:

 

(Debtor)

 

(Joint Debtor, if any)
Date:

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